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 1    AMERICAN CIVIL LIBERTIES UNION                       DICKINSON WRIGHT PLLC
      FOUNDATION OF ARIZONA                                Brian J. Hembd, State Bar No. 029817
 2    Benjamin L. Rundall, State Bar No. 031661            Cameron C. Stanley, State Bar No.
      Jared G. Keenan, State Bar No. 027068                036605
 3
      Christine K. Wee, State Bar No. 028535               1850 North Central Avenue, Suite 1400
 4    3707 N. 7th St., Suite 235                           Phoenix, Arizona 85004
      Phoenix, AZ 85014                                    Phone: (602) 285-5000
 5    Telephone: (602) 650-1854                            bhembd@dickinsonwright.com
 6    jkeenan@acluaz.org                                   cstanley@dickinson-wright.com
      brundall@acluaz.org
 7    cwee@acluaz.org
 8                                                         PIERCE COLEMAN PLLC
      SNELL & WILMER L.L.P.                                Aaron D. Arnson
 9    Edward J. Hermes (ASB #030529)                       Trish Stuhan
      Delilah R. Cassidy (ASB #037407)                     Stephen B. Coleman
10    1 East Washington Street                             7730 East Greenway Road, Suite 105
11    Suite 2700                                           Scottsdale, Arizona 85260
      Phoenix, Arizona 85004-2556                          Telephone: (602) 772-5506
12    Telephone: (602) 382-6529                            Aaron@PierceColeman.com
      Email: ehermes@swlaw.com                             Trish@PierceColeman.com
13
             dcassidy@swlaw.com                            Steve@PierceColeman.com
14                                                         Attorneys for Defendants
15   Attorneys for Plaintiffs
                                UNITED STATES DISTRICT COURT
16
                                    DISTRICT OF ARIZONA
17
     Fund for Empowerment, a nonprofit                      No. CV-22-02041-PHX-GMS
18   corporation, in its individual capacity;
19   Faith Kearns, individually; and,                                JOINT PRE-HEARING
     Frank Urban, individually,                                          STATEMENT
20
                    Plaintiffs,
21
     vs.
22
     City of Phoenix, a political subdivision of
23   the state of Arizona; Chief Jeri Williams, in
24   her official capacity; Interim Chief Michael
     Sullivan, in his official capacity; Entities I-
25   X, political subdivisions of the state of
     Arizona; and, Officers John and Jane Does
26   1–75, in their individual capacities,
27
                    Defendants.
28
                                                       1
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 1          Pursuant to the Court’s order setting Preliminary Injunction hearing dated
 2   December 2, 2022 (Doc. 7), the parties, through undersigned counsel, respectfully submit
 3   this Joint Pre-Hearing Statement. Each party hereby acknowledges that, by signing this
 4   joint pre-hearing statement, any objections not specifically raised herein are waived. The
 5   parties do not waive any objections for purposes of future litigation.
 6          A.     COUNSEL FOR THE PARTIES
 7         Plaintiffs:
 8         Benjamin L. Rundall
           Jared G. Keenan
 9         Christine K. Wee
           American Civil Liberties Union
10
           Foundation of Arizona
11         3707 N. 7th St., Suite 235
           Phoenix, AZ 85014
12         (602) 650-1854
13         jkeenan@acluaz.org
           brundall@acluaz.org
14         cwee@acluaz.org
15         Edward J. Hermes
           Delilah R. Cassidy
16         SNELL & WILMER L.L.P.
17         1 East Washington Street, Suite 2700
           Phoenix, Arizona 85004-2556
18         (602) 382-6529
           ehermes@swlaw.com
19
           dcassidy@swlaw.com
20
21          Defendants:
            Aaron D. Arnson
22          Trish Stuhan
23          Stephen B. Coleman
            PIERCE COLEMAN PLLC
24          7730 East Greenway Road, Suite 105
            Scottsdale, Arizona 85260
25
            (602) 772-5506
26          Aaron@PierceColeman.com
            Trish@PierceColeman.com
27          Steve@PierceColeman.com
28
                                                   1
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 1
            B.     WITNESSES
 2
            Plaintiffs:
 3
                   1.       Elizabeth Venable
 4                          Fund for Empowerment
                            C/o American Civil Liberties Union of Arizona
 5
            Elizabeth Venable is the co-founder and current lead organizer of the Plaintiff, Fund
 6
     for Empowerment. Ms. Venable will testify the Fund for Empowerment is a non-profit
 7
     organization whose mission is to build community resources for members of the unsheltered
 8
     community. Ms. Venable will further testify as consistent with the organization’s
 9
     description in the Complaint. See Ms. Venable’s declaration (Doc. 2-1, pp. 10-12).
10
11                 2.       Faith Kearns
12                          C/o American Civil Liberties Union of Arizona

13
            Faith Kearns is a chronically, unsheltered individual who resides in Maricopa
14
     County, Arizona. Ms. Kearns will testify regarding the raids performed by the Phoenix
15
     Police Department which have resulted in the destruction of her personal property. See Ms.
16
     Kearns’ declaration (Doc. 2-1, pp. 2-4).
17
18                 3.       Frank Urban
                            C/o American Civil Liberties Union of Arizona
19
            Frank Urban is a chronically, unsheltered individual who resides in Maricopa
20
     County, Arizona. Mr. Urban will testify regarding the raids performed by the Phoenix
21
     Police Department which have resulted in his receiving criminal citations for trespassing
22
     and have resulted in the destruction of his personal property. See Mr. Urban’s declaration
23
     (Doc. 2-1, pp. 6-8).
24
25                 4.       Eric Daniel Brickley
26                          C/o American Civil Liberties Union of Arizona

27          Eric Daniel Brickley is a veteran who formerly served in the United States Army for

28   five years including tours in Iraq and Afghanistan. Mr. Brickley left the service at the rank

                                                  2
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 1   of Sergeant. He will testify he volunteers for Feed Phoenix, a local non-profit organization
 2   focusing on ending food and hunger insecurity in Phoenix. In this capacity he interacts
 3   regularly with individuals in the unsheltered community. He will further testify he has
 4   personally seen the Phoenix City Police and other city employees arrest and conduct sweeps
 5   against the unsheltered community. See Mr. Brickely’s declaration (Doc. 2-1, pp.14-16).
 6
                     5.   Ronnie Lee Massingille
 7                        C/o American Civil Liberties Union of Arizona
 8          Ronnie Lee Massingille is a current resident of the City of Phoenix experiencing
 9   homelessness. Mr. Massingille will testify consistent with his declaration regarding the

10   City’s raids.

11          Defendants:
                     1.   Rachel Milne
12
                          C/o Pierce Coleman PLLC
13
            Rachel Milne serves as the Director of the Office of Homeless Solutions in the City
14
     of Phoenix. Ms. Milne will testify regarding the unsheltered population in the City and
15
     those located around the Human Services Campus (“HSC”) downtown - the area Plaintiffs
16
     refer to as “the Zone”. Ms. Milne has knowledge regarding services offered to the
17
     unsheltered, shelter bed capacity, efforts to locate housing for the unsheltered, and use of
18
     City funds to address homelessness in the City. Ms. Milne will testify regarding the City’s
19
     current cleaning operations for public property and rights-of-way occupied by homeless
20
     encampments and the City’s plans to conduct enhanced cleanups of the area surrounding
21
     the HSC. She will testify the City does not conduct “raids” or “sweeps” as alleged by
22
     Plaintiffs. Indeed, the City has developed a plan for retrieval, storage, and disposal of
23
     abandoned property, contrary to Plaintiffs’ assertions. Ms. Milne is knowledgeable about
24
     the City’s HSC Enhanced Clean Up Roles/Responsibilities and HSC Enhanced Clean Up
25
     Abandoned Property Procedure.         Ms. Milne will testify that the City does not
26
     indiscriminately dispose of personal property during cleanups and provides people with
27
     time to remove belongings.      Ultimately, Ms. Milne will testify regarding the City’s
28
                                                  3
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 1   strategies for homelessness solutions and cleanups of public property consistent with her
 2   declaration, attached to the City’s response to Plaintiffs’ motion for preliminary injunction
 3   (Doc 18-1).
 4                 2.      Scott Hall
 5                         C/o Pierce Coleman

 6          Scott Hall serves as the Deputy Director of the Office of Homeless Solutions in the

 7   City of Phoenix. Mr. Hall will testify regarding the City’s use of resources to address

 8   homelessness in the City including contracts with third-party providers and projects to offer

 9   housing solutions and shelter. Part of Mr. Hall’s duties are to oversee and coordinate City

10   departments cleaning streets in the area around the HSC, the area Plaintiffs refer to as “the

11   Zone.” Mr. Hall has knowledge of the City’s current cleaning operations and the City’s

12   plans to conduct enhanced cleanups. Mr. Hall also has knowledge regarding the City’s

13   more thorough cleanings that occurred before January 2022 and changes in the City’s new

14   procedures for the enhanced cleanings scheduled for December 16, 2022. Mr. Hall will

15   testify the City does not conduct “raids” or “sweeps” as alleged by Plaintiffs. In contrast to

16   Plaintiff’s claims, Mr. Hall will testify that the City has developed a plan for retrieval,

17   storage, and disposal of abandoned property. Mr. Hall is knowledgeable about the HSC

18   Enhanced Clean Up Abandoned Property Procedure and the HSC Enhanced Clean Up

19   Roles/Responsibilities procedure.       Mr. Hall will testify that the City does not

20   indiscriminately dispose of personal property during cleanups and provides people

21   reasonable time to remove belongings. Mr. Hall will testify regarding cleanup operations

22   in the field including efforts to protect personal belongings and disposal of trash, debris,

23   and unsanitary items. Mr. Hall will also testify that the City provides notice of the cleaning

24   schedule, which includes installation of signage around the HSC and distribution of flyers

25   to the public.     Ultimately, Mr. Hall will testify regarding the City’s strategies for

26   homelessness solutions and cleanups of public property consistent with his declaration

27   attached to the City’s response to Plaintiffs’ motion for preliminary injunction (Doc 18-2).
28
                                                   4
      Case 2:22-cv-02041-GMS Document 29 Filed 12/13/22 Page 6 of 14



 1
 2                 3.     Brian Freudenthal
                          C/o Pierce Coleman PLLC
 3
            Brian Freudenthal serves as the Commander over the Downtown Operations Unit in
 4
     the Central City Precinct of the City of Phoenix Police Department.              Commander
 5
     Freudenthal will testify regarding the City’s arrests of individuals pursuant to Phoenix City
 6
     Code Sections 23-30(A) and 23-48.01, as well as citations and arrests in general of the
 7
     City’s homeless population. Commander Freudenthal is knowledgeable regarding the
 8
     Department’s Crime Analysis and Research Unit (“CARU”) and will testify regarding
 9
     reports of arrests for the area around the HSC (called the “Zone” in Plaintiffs’ complaint
10
     and identified as Grid BA26 by CARU). Commander Freudenthal will testify that the City
11
     does not conduct indiscriminate or mass arrests of persons experiencing homelessness, and
12
     will offer testimony regarding the limited arrests and bookings from 2018 to present.
13
     Commander Freudenthal will testify that in 2022, the City made zero arrests and booked
14
     zero individuals into jail pursuant to City Code Section 28-30 for Grid BA26. Similarly, in
15
     2022, the City cited zero individuals pursuant to City Code Section 23-30 for Grid BA26.
16
     Commander Freudenthal also has knowledge of the City’s current cleaning operations for
17
     the area around the HSC and the City’s plans to conduct enhanced cleanups starting
18
     December 16, 2022.         Commander Freudenthal will testify regarding the Police
19
     Department’s role in cleanings of homeless encampments and testify that the City does not
20
     conduct “raids” or “sweeps” as alleged by Plaintiffs. Ultimately, Commander Freudenthal
21
     will testify regarding the City’s strategies for homelessness solutions and cleanups of public
22
     property consistent with his declaration attached to the City’s response to Plaintiffs’ motion
23
     for preliminary injunction (Doc 18-3).
24
25                 4.     Gina Montes
26                        C/o Pierce Coleman PLLC
27          Gina Montes serves as Deputy City Manager for the City of Phoenix. Ms. Montes
28   will testify regarding the unsheltered population in the City and those located around the
                                                  5
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 1   HSC (or in “the Zone,” as Plaintiffs characterize it). Ms. Montes has knowledge regarding
 2   services offered to the unsheltered, shelter bed capacity, efforts to locate housing for the
 3   unsheltered, and use of City funds to address homelessness in the City of Phoenix. Ms.
 4   Montes will testify regarding the City’s current cleaning operations for public property and
 5   right-of-way occupied by homeless encampments and the City’s plans to conduct enhanced
 6   cleanups of the area surrounding the HSC. She will testify the City does not conduct “raids”
 7   or “sweeps” as alleged by Plaintiffs. Indeed, the City has developed a plan for retrieval,
 8   storage, and disposal of abandoned property contrary to Plaintiffs’ assertions. Ms. Montes
 9   is knowledgeable about the City’s HSC Enhanced Clean Up Roles/Responsibilities and
10   HSC Enhanced Clean Up Abandoned Property Procedure. Ms. Montes will testify that the
11   City does not indiscriminately dispose of personal property during cleanups and provides
12   people with time to remove belongings. Ms. Montes will testify regarding her observations
13   of City operations in the field while conducting cleanups of encampments and efforts to
14   protect personal belongings. Ms. Montes will further testify regarding changes to City
15   practices and procedures during the last year and the City’s efforts to investigate Plaintiffs’
16   concerns and lack of response to City inquiries. Ultimately, Ms. Montes will testify
17   regarding the City’s strategies for homelessness solutions and cleanups of public property
18   consistent with her declaration attached to the City’s response to Plaintiffs’ motion for
19   preliminary injunction (Doc 18-5).
20
            Each party understands that it is responsible for ensuring that the witnesses whose
21
     testimony the party will rely on are present at the preliminary injunction hearing. The
22
     parties have waived formal subpoena requirements. Each party further understands that any
23
     witness who does not appear will have their declaration stricken from the hearing and any
24
     witness whose testimony is offered to the Court shall be listed on that party’s list of
25
     witnesses. The parties cannot rely on any witness having been listed by another party.
26
27
28
                                                   6
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 1         C.     LIST OF EXHIBITS

 2         1.     The following exhibits are admissible in evidence and may be marked in

 3   evidence by the Clerk:

 4                a.     Plaintiffs’ Exhibits:

 5                       1.     Maricopa County Ass’n of Govt’s Point-in-Time Comm’n

 6                              (Exhibit 5)

 7                       2.     Screenshots of City Website re Shelter Beds (Exhibit 6)

 8                       3.     HSC Enhanced Cleanup Document (Exhibit 7)

 9
                  b.     Defendants’ Exhibits:
10
                         1.     Declaration of Rachel Milne (Document 18-1)
11
                                i.     Attachment 1: HSC Enhanced Clean Up Abandoned
12
                                       Property Procedure
13
                         2.     Declaration of Scott Hall (Document 18-2)
14
                                i.     Attachment 1: Signage – Clean Up Notice
15
                                ii.    Attachment 2; HSC Enhanced Clean Up
16
                                       Roles/Responsibilities
17
                                iii.   Attachment 3: Flyer – Notification of Enhanced
18
                                       Cleanings
19
                         3.     Declaration of Brian Freudenthal (Document 18-3)
20
                                i.     Declaration of Custodian of Records – Karen Kontak
21
                                ii.    Attachment 1: Arrests made in Grid BA26 for Section
22
                                       23-30 or Section 23-48.01
23
                                iii.   Attachment 2: Arizona Traffic Ticket and Complaint
24
                                       (“ATTC” citations issued in Grid BA26 that contain at
25
                                       least one Charge under Section 23-30 or Section 23-
26
                                       48.01
27
                         4.     Transcript from State Court Lawsuit (Freddy Brown v. City of
28
                                                   7
      Case 2:22-cv-02041-GMS Document 29 Filed 12/13/22 Page 9 of 14



 1                  Phoenix, CV 2022-010439) (Document 18-4)
 2                         5.      Declaration of Gina Montes (Document 18-5)
 3                         6.      City of Phoenix Strategies to Address Homelessness
 4          7.     As to the following exhibits, the parties have reached the following
 5                 stipulations:
 6                  a.      Plaintiffs’ Exhibits:

 7
            Plaintiffs’ Exhibits 5-7 are stipulated.
 8
 9
                    b.     Defendants’ Exhibits:
10
11          Defendants’ Exhibits 1-6 are stipulated.

12          8.      As to the following exhibits, the party against whom the exhibit is to be offered

13   objects to the admission of the exhibit and offers the objection stated below:

14                  a.     Plaintiffs’ Exhibits:

15                         1. Declaration of Ronnie Lee Massingille:

16          As to the specific paragraphs in the declaration, the City files the following

17   objections:

18          ¶ 5. Objects on the grounds of Federal Rules of Evidence 201 and 602. The witness

19   appears to lack personal knowledge and the Court may take judicial notice regarding basic

20   geographic facts. None of the locations described are located in the Zone as described by

21   Plaintiffs. For example, Sereno Park is located at 56th Street and Thunderbird approximately

22   17 miles from the Zone.

23          ¶ 10. Objects on the grounds of Federal Rules of Evidence 201 and 602. The witness

24   appears to lack personal knowledge and the Court may take judicial notice regarding basic

25   geographic facts. The conduct the declarant claims occurred took place in Sereno Park, 17

26   miles from the Zone. Further objects to a lack of foundation as to why the Declarant has

27   personal knowledge regarding the destruction of items left behind by other individuals and

28   particularly when he purportedly left.

                                                       8
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 1         ¶ 11. Objects on the grounds of Federal Rules of Evidence 602 and 611. The
 2   testimony is vague with regard to where and when the purported conduct occurred.
 3         ¶ 12. Objects on the grounds of Federal Rules of Evidence 602 and 611. The
 4   testimony is vague with regard to the conduct that occurred. Further, the attached
 5   photograph does not show the conduct as described by Declarant. Further, invokes Federal
 6   Rule of Evidence 1002 Best Evidence Rule because the copy of the photograph embedded
 7   in the declaration is of low resolution and does not have metadata which would presumably
 8   accompany the original of the photograph to document date and time of picture.
 9         ¶ 16. Objects on the grounds of Federal Rules of Evidence 602 and 611. The
10   testimony is vague with regard to where and when the purported conduct occurred.
11                       2.    Declaration of Faith Kearns:
12         The City files the following objections:
13         ¶ 5. Objects on the grounds of Federal Rules of Evidence 201 and 602. The witness
14   appears to lack personal knowledge and the Court may take judicial notice regarding basic
15   geographic facts. None of the locations described are located in the Zone as described by
16   Plaintiffs. The North Mountain Preserve is located approximately 11 miles from the Zone.
17         ¶ 9. Objects on the grounds of Federal Rules of Evidence 611 and 802. The testimony
18   is vague with regard to where and when it occurred. Further the officers’ statements are
19   inadmissible hearsay.
20         ¶ 10. Objects on the grounds of Federal Rules of Evidence 611 and 802. The
21   testimony is vague with regard to where and when it occurred. Further the officers’
22   statements are inadmissible hearsay.
23         ¶¶ 14 - 20. Objects on the grounds of Federal Rules of Evidence 602 and 611. The
24   testimony is vague with regard to where and when the purported conduct occurred. Further
25   objects under Federal Rule of Evidence 402 and 403. All of the alleged conduct occurred
26   in 2020 or before and is not relevant to the current proceeding or is more prejudicial than
27   probative. The City’s current procedures are before the Court for examination and the Court
28   need not review testimony from over two years ago.
                                               9
      Case 2:22-cv-02041-GMS Document 29 Filed 12/13/22 Page 11 of 14



 1                       3. Declaration of Frank Urban:
 2         The City files the following objections:
 3         ¶ 7. Objects on the grounds of Federal Rules of Evidence 201 and 602. The witness
 4   appears to lack personal knowledge and the Court may take judicial notice regarding basic
 5   geographic facts. None of the locations described are located in the Zone as described by
 6   Plaintiffs. The North Mountain Preserve is located approximately 11 miles from the Zone.
 7         ¶ 11. Objects on the grounds of Federal Rules of Evidence 611 and 802. The
 8   testimony is vague with regard to where, when, and on how many occasions the conduct
 9   occurred. The testimony does not identify what “information” police allegedly provided, or
10   why that information was “expired and inaccurate.” Further, the officers’ statements are
11   inadmissible hearsay.
12         ¶ 14. Objects on the grounds of Federal Rules of Evidence 602 and 611. The
13   testimony is vague with regard to where and when the purported conduct occurred. Further
14   objects under Federal Rules of Evidence 402 and 403. All of the alleged conduct occurred
15   in 2020 or before and is not relevant to the current proceeding or is more prejudicial than
16   probative. The City’s current procedures are before the Court for examination and the Court
17   need not review testimony from over two years ago.
18         ¶¶ 15-21. Objects on the grounds of Federal Rules of Evidence 602 and 611. The
19   testimony is vague with regard to where and when the purported conduct occurred. Further
20   objects under Federal Rules of Evidence 402 and 403. All of the alleged conduct occurred
21   in 2020 or before and is not relevant to the current proceeding or is more prejudicial than
22   probative.
23                       4. Declaration of Elizabeth Venable:
24         The City files the following objections:
25         ¶¶ 13-15. Objects on the grounds of Federal Rules of Evidence 602 and 611. The
26   testimony is vague with regard to where and when the purported conduct occurred. Further
27   objects under Federal Rules of Evidence 402 and 403.
28         ¶¶ 16-17. Objects on the grounds of Federal Rules of Evidence 602 and 611. The
                                              10
      Case 2:22-cv-02041-GMS Document 29 Filed 12/13/22 Page 12 of 14



 1   testimony is vague with regard to where and when the purported conduct occurred, and the
 2   witness appears to lack personal knowledge. Further objects under Federal Rules of
 3   Evidence 402 and 403. Further objects under Federal Rule of Evidence 802 as these
 4   individuals’ statements are inadmissible hearsay.
 5         ¶¶ 19, 21. Objects on the grounds of Federal Rule of Evidence 602. The witness
 6   appears to lack personal knowledge. Further objects under Federal Rules of Evidence 402
 7   and 403. Further objects under Federal Rule of Evidence 802 as these individuals’
 8   statements are inadmissible hearsay.
 9                       5. Declaration of Eric Daniel Brickley:
10         The City files the following objections:
11         ¶ 4. Objects on the grounds of Federal Rules of Evidence 602 and 611. The testimony
12   is vague with regard to where and when the purported “sweeps” occurred. Further objects
13   under Federal Rules of Evidence 402 and 403.
14         ¶¶ 6-10. Objects on the grounds of Federal Rules of Evidence 602 and 611. The
15   testimony is vague with regard to where and when the purported conduct occurred. Further
16   objects under Federal Rules of Evidence 402 and 403.
17         ¶ 12. Objects on the grounds of Federal Rule of Evidence 602. The witness appears
18   to lack personal knowledge. Further objects under Federal Rules of Evidence 402 and 403.
19   Further objects under Federal Rule of Evidence 802 as these individuals’ statements are
20   inadmissible hearsay.
21         ¶¶ 13, 17-18. Objects on the grounds of Federal Rules of Evidence 602 and 611. The
22   testimony is vague with regard to where and when the purported conduct occurred. Further
23   objects under Federal Rule of Evidence 402 and 403.
24                6.     Defendants’ Exhibits:
25                       N/A
26
27
28
                                                 11
     Case 2:22-cv-02041-GMS Document 29 Filed 12/13/22 Page 13 of 14



 1       Respectfully submitted this 13th day of December.

 2
                                   AMERICAN CIVIL LIBERTIES UNION
 3                                 FOUNDATION OF ARIZONA
 4
                                   By: /Benjamin L. Rundall (with permission)
 5                                 Benjamin L. Rundall
                                   Jared G. Keenan
 6                                 Christine K. Wee
 7                                 3703 N. 7th St., Suite 235
                                   PHOENIX, AZ 85014
 8
                                   SNELL & WILMER L.L.P.
 9
10                                 By: /Edward J. Hermes (with permission)
                                   Edward J. Hermes
11                                 Delilah Cassidy
12                                 One East Washington St, Suite 2700
                                   Phoenix, Arizona 85004-2556
13
14                                 DICKINSON WRIGHT, LLP

15                                 By: /Brian J. Hembd (with permission)
                                   Brian J. Hembd
16                                 Cameron C. Stanley
                                   1850 North Central Avenue, Suite 1400
17
                                   Phoenix, Arizona 85004
18
                                   Attorneys for Plaintiffs
19
20
21
                                   PIERCE COLEMAN PLLC
22
                                   By: /Aaron D. Arnson
23
                                   Aaron D. Arnson
24                                 Trish Stuhan
                                   Stephen B. Coleman
25                                 7730 East Greenway Road, Suite 105
26                                 Scottsdale, Arizona 85260

27                                 Attorneys for Defendants
28
                                            12
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 1
 2                                  CERTIFICATE OF SERVICE
 3          I hereby certify that on December 13, 2022, I caused the foregoing document to
 4   be electronically transmitted to the Clerk’s Office using the CM/ECF System for filing.
 5   Notice of this filing will be sent to all parties by operation of the Court’s electronic filing
 6   system.
 7
                                  /s/ Mary Walker
 8                                    Mary Walker
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